 

106013352901

Drivetime ARBITRATION AGREEMENT

 

NOTICE OF ARBITRATION AGREEMENT

Unless you reject this Agreement, this Agreement provides that upon your or our election, all
disputes between you and us will be resolved by BINDING ARBITRATION.

If you or we elect arbitration, you will be GIVING UP YOUR RIGHT TO GO TO COURT to assert
or defend your rights under the Contract (except for individual claims that may be taken to
small claims court).

Your rights will be determined by a NEUTRAL ARBITRATOR AND NOT by a JUDGE OR JURY.
YOU WILL BE WAIVING YOUR RIGHTS TO A JURY TRIAL.

You are entitled to a FAIR HEARING, but arbitration procedures are simpler and more limited than
rules that apply in court. YOU WILL NOT HAVE THE RIGHT TO BE A MEMBER OR
REPRESENTATIVE IN A CLASS ACTION OR A PRIVATE ATTORNEY GENERAL ACTION IN
COURT OR IN ARBITRATION.

Arbitrator decisions are enforceable as any court order and are subject to VERY LIMITED COURT
REVIEW.

THE ARBITRATION ADMINISTRATOR'S FEES MAY BE MORE THAN THE FEES CHARGED BY
A COURT.

READ THIS ENTIRE AGREEMENT CAREFULLY BEFORE YOU SIGN.

 

 

 

"Us/We/Our" means DriveTime, any purchaser, assignee or servicer of the contract, all of their parent
companies, and all subsidiaries, affiliates, predecessors and successors, and all officers, directors and
employees of any of the forgoing. "Us/We/Our" also means any third party providing any product or
service in connection with or incidental to the Contract, the sale of the vehicle and/or other goods or
services covered by the Contract and/or related to the vehicle, if such third party is named as a
co-defendant with us in a Claim you assert. "Us/We/Our" have these meanings only for this
Agreement. This Agreement is part of, and is hereby incorporated into, the Contract. However,
whenever in this Agreement the term "Contract" is used, it does not include this Agreement.

"You/Your" means and/or any of your heirs or personal representatives.

"Contract" means Retail Installment Contract and Security Agreement (in California, Conditional Sales
Contract and Security Agreement), Number: 106013352901_-_ Dated:01/14/2015 and any prior Retail
Installment Contract and Security Agreement (in California, Conditional Sales Contract and Security

Agreement) that you previously had with us.

"Agreement" means this Arbitration Agreement.

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"Including" and "includes" mean “including but not limited to.”

This Agreement describes how a Claim may be arbitrated instead of litigated in court.

"Claim" means any claim, dispute or controversy between you and us arising from or related to one or
more of the following:

(a} The Contract.
(b} The vehicle or the sale of the vehicle.

(c) The provision or sale of any goods and services like warranties, insurance and extended service
contracts covered by the Contract or related to the vehicle.

(d) The relationships resulting from the Contract.

(e) Advertisements, promotions or oral or written statements related to the Contract.
(f} The financing terms.

(g) Your credit application.

(h) The origination and servicing of the Contract.

(i) The collection of amounts you owe us.

(j) Any repossession, or replevin, of the vehicle.

(k) Your personal information

(l) The rescission or termination of the Contract.

"Claim" has the broadest reasonable meaning. It includes claims of every kind and nature. This
includes initial claims, counterclaims, cross-claims, third-party claims, statutory claims, contract claims,
negligence and tort claims (including claims of fraud and other intentional torts). However,
notwithstanding any language in this Agreement to the contrary, a "Claim" does not include a dispute
about the validity, enforceability, coverage or scope of this Agreement (including, without limitation, the
paragraph below captioned "No Class Actions or Private Attorney General Actions," the final sentence
under the paragraph below captioned "Miscellaneous" and/or this sentence); any such dispute is for a
court, and not an arbitrator to decide. This exclusion from the definition of a "Claim" does not apply to
any dispute or argument that concerns the validity or enforceability of the Contract as a whole; any
such dispute or argument is for the arbitrator, not a court, to decide.

Even if you and we elect to litigate a Claim in court, you or we may elect to arbitrate any other Claim,
including a new Claim in that lawsuit or any other lawsuit. Nothing in that litigation waives any rights in

this Agreement.

However, notwithstanding any language in this Agreement to the contrary, the term "Claim" does not
include (i) any self-help remedy, such as repossession or sale of any collateral given by you to us as
security for repayment of amounts owed by you under the Contract; or (ii) any individual action in court
by one party that is limited to preventing the other party from using such self-help remedy and that
does not involve a request for damages or monetary relief of any kind. Also, we will not require
arbitration of any individual Claim you make in small claims court or your state's equivalent court, if
any. If, however, you or we transfer or appeal the Claim to a different court, we reserve our right to

elect arbitration.

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Your Right to Reject this Agreement. You have the right to reject this Agreement, in which event neither
you nor we will have the right to require arbitration of any Claims. Rejection of this Agreement will not
affect any other aspect of your Contract. In order for you to reject this Agreement, we must receive a
signed writing ("Rejection Notice") from you within 30 days of the day-you enter into the Contract,
stating that you reject the Agreement. The Rejection Notice must include your name, address and
Contract Number and must be mailed to us at: Attn Legal, 4020 E. Indian School Rd, Phoenix, AZ 85018 by
certified mail, return receipt requested. Upon receipt of your Rejection Notice, we will credit your
Contract for your postage cost. If the Rejection Notice is sent on your behalf by a third party, such third
party must include evidence of his or her authority to submit the Rejection Notice on your behalf. If you
reject this Agreement, that will not constitute a rejection of any prior arbitration agreement between you
and us.

Selection of Arbitration Administrator. Unless prohibited by applicable laws, any Claim shall be resolved, on
your election or ours, by arbitration under this Agreement.

You may select as the administrator either of the organizations listed at the end of this Agreement. If we want to
arbitrate, we will tell you in writing. That may include a motion to compel arbitration that we file in court. You will
have 20 (twenty) days to select the administrator (or, if you dispute our right to require arbitration of the Claim,
20 (twenty) days after that dispute is finally resolved). If you do not choose an administrator within the 20-day
period, we will do so.

lf for any reason the administrator is unable, unwilling, or ceases to be the administrator, you will have 20
(twenty) days to choose the other organization listed at the end of this Agreement. If you do not select a new
administrator within that period, we will do so. If neither organization is willing or able to be the administrator,
then the administrator will be selected by the court. Notwithstanding any language in this Agreement to the
contrary, no arbitration may be administered, without the consent of all parties to the arbitration, by any
administrator that has in place a formal or informal policy that is inconsistent with the paragraph below captioned
"No Class Actions or Private Attorney General Action."

If a party files a lawsuit in court asserting Claim(s) that are subject to arbitration and the other party files a
motion to compel arbitration with the court which is granted, it will be the responsibility of the party prosecuting
the Claim(s) to commence the arbitration proceeding.

Location of Hearing. Any arbitration hearing you attend shall be in the federal judicial district of your residence.

No Class Actions or Private Attorney General Action. Notwithstanding any language herein to the contrary, if
you or we elect to arbitrate a Claim, neither you nor we will have the right to: (1) participate in a class action in
court or in arbitration, either as a class representative, class member or class opponent; (2) act as a private
attorney general in court or in arbitration, or (3) join or consolidate your Claim(s) with claims of any other person,
and the arbitrator shall have no authority to conduct any such class, private attorney general or multiple-party
proceeding. This paragraph does not apply to any lawsuit filed against us in court by a state or federal
government agency even when such agency is seeking relief on behalf of a class of borrowers including you.
This means that we will not have the right to compel arbitration of any claim brought by such an agency.

Notice and Cure: Special Payment: Prior to initiating a Claim, you may give us a written Claim Notice describing
the basis of your Claim and the amount you would accept in resolution of the Claim, and a reasonable
opportunity, not less than 30 days, to resolve the Claim. If (i) you submit a Claim Notice in accordance with this
Paragraph on your own behalf (and not on behalf of any other party); (ii) you cooperate with us by promptly
providing the information we reasonably request; (iii) we refuse to provide you with the relief you request; and
(iv) the arbitrator subsequently determines that you were entitled to such relief (or greater relief), you will be
entitled to a minimum award of at least $7,500 (not including any arbitration fees and attorneys’ fees and costs

to which you will also be entitled).

Fees and Expenses. An arbitration administrator and arbitrator may waive or reduce its fees for financial
hardship. If you ask in writing, we will pay all administrator and arbitrator fees up to $2,500 that the

administrator will not waive for any Claims you assert in good faith.

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We will consider in good faith your request to pay all or part of any administrator or arbitrator fees over
$2,500 ("additional fees"). To the extent we do not approve your request, if the arbitrator issues an
award to you, we will still pay you for additional fees you must pay the administrator and/or arbitrator
as follows:

(1) In the case of additional fees based on the amount of your Claim or the value of the relief you
sought, we will pay you an amount equal to the fees you would have paid if the amount of your
Claim or the value of the relief you sought had been the amount or value of the award to you.

(2) In the case of other additional fees not based on the amount of your Claim or the value of the
relief you sought, we will pay you for the amount of such additional fees.

(3) if we are required to pay any greater sums under applicable law or in order for this Agreement
to be enforced, we will pay such amounts.

We will bear the administrator and arbitrator fees we are normally required to pay and will also bear the expense
of our attorneys, experts and witnesses, except where applicable law and the Contract allow us to recover
attorneys' fees and/or court costs in a collection action we bring. You will bear the expense of your attorneys,
experts and witnesses if we prevail in an arbitration. However, in an arbitration you commence, we will pay your
reasonable fees if you prevail or if we must bear such fees in order for this Agreement to be enforced. Also, we
will bear any fees if applicable law requires us fo.

Applicable Law, Award of Arbitrator and Right to Appeal. Because the Contract involves a transaction in
interstate commerce, the Federal Arbitration Act ("FAA") governs this Agreement. The arbitrator shall apply
applicable substantive law consistent with the FAA. The arbitrator shall apply applicable statutes of limitations.
The arbitrator is authorized and given the power to award all remedies that would apply if the action were brought
in court, This authorization and power is limited by any constitutional limits that would apply in court. Either party
may make a timely request for a brief written explanation of the basis for the award. The arbitrator shall not apply
federal or state rules of civil procedure or evidence.

Judgment on the arbitrator's award may be entered in any court with jurisdiction. Otherwise, the award shall be
kept confidential.

The arbitrator's decision is final and binding, except for any right of appeal provided by the FAA. However, if the
amount of the Claim exceeds $50,000 or involves a request for injunctive or declaratory relief that could
foreseeably involve a cost or benefit to either party exceeding $50,000, any party can appeal the award to a
three-arbitrator panel administered by the administrator, which panel shall reconsider any aspect of the initial
award requested by the appealing party. The decision of the panel shall be by majority vote. Reference in this
Agreement to "the arbitrator” shall mean the panel of arbitrators if an appeal of the arbitrator's decision has been
taken. The costs of such an appeal will be borne in accordance with the paragraph captioned "Fees and
Expenses" above.

Miscellaneous. This Agreement survives payment of all you owe under the Contract. It also survives your
bankruptcy and any sale by us of your Contract.

If there is a conflict or inconsistency between the administrator's rules and this Agreement, this Agreement
governs. If there is a conflict or inconsistency between this Agreement and the Contract, this Agreement
governs. If a court or arbitrator deems any part of this Agreement invalid or unenforceable under any law or
statute consistent with the FAA, the remaining parts of this Agreement shall be enforceable despite such
invalidity. However, if a court limits or voids any part of the above paragraph captioned "No Class Actions or
Private Attorney General Actions" in any proceeding, then this entire Agreement (except for this sentence) shall
be null and void with respect to such proceeding, subject to the right to appeal such limitation or voiding.

This Agreement (if you do not reject)will supersede any prior arbitration agreement between you and us with
respect to any Claim.

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BY SIGNING BELOW, YOU EXPRESSLY AGREE TO THE ABOVE AGREEMENT. THE
AGREEMENT MAY SUBSTANTIALLY LIMIT YOUR RIGHTS IN THE EVENT OF A DISPUTE.
YOU ALSO ACKNOWLEDGE RECEIVING A COMPLETED COPY OF THIS AGREEMENT.

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Customer Signature Customer Signature

 

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By: co TA Ce Dated: 01/14/2015

Authorized. Employee”
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ARBITRATION ADMINISTRATORS

If you have a question about the administrators mentioned in this Agreement or if you would like to obtain a copy of
their arbitration rules or fee schedules, you can contact them as follows:

American Arbitration Association (AAA)
13455 Noel Road, Suite 1750 uo
Dallas, TX 75240-6620 en

www.adr.org a
J.A.M.S./Endispute ~N
700 11th Street, NW, Suite 450 )

Washington, DC 20001 a
www.jamsADR.com a
(800) 352-5267

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